 Case 2:24-cv-00347-EEF-EJD        Document 15-1     Filed 03/07/24   Page 1 of 25




                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF LOUISIANA


FRISARD’S TRANSPORTATION, L.L.C.;
LOUISIANA MOTOR TRANSPORT ASSOCIA-
TION, INCORPORATED; A & B GROUP, INC.;                Case No. 2:24-cv-00347
NORTHLAKE MOVING AND STORAGE, INC.;
TRIPLE G. EXPRESS, INC.,                              Section L

           Plaintiffs,                                District Judge Fallon

               v.                                     Magistrate Judge North

UNITED STATES DEPARTMENT OF LABOR;
JULIE SU, in her official capacity as Act-
ing Secretary of Labor; JESSICA LOOMAN,
in her official capacity as Administrator
of the Wage and Hour Division; UNITED
STATES DEPARTMENT OF LABOR, WAGE
AND HOUR DIVISION,


           Defendants.


              MEMORANDUM OF LAW IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                                       James Baehr (LSBA 35431)
                                       Sarah Harbison (LSBA 31948)
                                       PELICAN CENTER FOR JUSTICE
                                       PELICAN INSTITUTE FOR PUBLIC POLICY
                                       400 Poydras Street, Suite 900
                                       New Orleans, LA 70130
                                       Telephone: (504) 475-8407

                                       M.E. Buck Dougherty III TN BPR #022474
                                       Reilly Stephens
                                       LIBERTY JUSTICE CENTER
                                       440 N. Wells Street, Suite 200
                                       Chicago, Illinois 60654
                                       Telephone: (312) 637-2280

                                       Attorneys for Plaintiffs
   Case 2:24-cv-00347-EEF-EJD                        Document 15-1               Filed 03/07/24            Page 2 of 25




                                            TABLE OF CONTENTS

INTRODUCTION .......................................................................................................... 5
STATEMENT OF FACTS ............................................................................................. 6
  A. DOL’s 2021 Rule .................................................................................................... 6

  B. DOL’s 2024 Rule .................................................................................................... 7

  C. Plaintiffs and Their Injuries ................................................................................. 8

LEGAL STANDARD.................................................................................................... 14
ARGUMENT ................................................................................................................ 15
  I. This Court should issue a Preliminary Injunction and set aside the 2024
     Rule. ..................................................................................................................... 15

         A. Plaintiffs are likely to succeed on the merits of their claims because
            DOL promulgated the 2024 Rule in violation of the Administrative
            Procedure Act. .............................................................................................. 16

            1. The 2024 Rule is arbitrary and capricious. ............................................. 18
              a. DOL failed to consider alternatives within the ambit of the
                 existing 2021 Rule, like monitoring its effects, claiming it is not
                 “obligated to wait for more time to gather data before
                 rescinding” it........................................................................................... 19

              b. DOL failed to consider employers’ reliance interests on 2021
                 Rule. ........................................................................................................ 22

            2. The 2024 Rule is in excess of DOL’s statutory authority. ...................... 23
         B. Plaintiffs would be irreparably harmed absent a Preliminary
            Injunction. .................................................................................................... 24

         C. The balance of equities favors issuing a Preliminary Injunction. ............. 24

  II. The Court may also grant similar equitable relief pursuant to
      5 U.S.C. § 706(2)(A). ............................................................................................ 25

CONCLUSION............................................................................................................. 25




                                                                2
   Case 2:24-cv-00347-EEF-EJD                     Document 15-1             Filed 03/07/24           Page 3 of 25




                                       TABLE OF AUTHORITIES

Cases

10 Ring Precision, Inc. v. Jones, 722 F.3d 711 (5th Cir. 2013) .................................. 18

Alabama Ass’n of Realtors v. HHS, 141 S. Ct. 2485, 210 L. Ed. 2d 856 (2021) ........ 24

Azar v. Allina Health Servs., 139 S. Ct. 1804 (2019).................................................. 16

Byrum v. Landreth, 566 F.3d 442 (5th Cir. 2009). ..................................................... 15

Castillo v. Givens, 704 F.2d 181 (5th Cir. 1983) ..................................................... 6, 22

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984) ................ 17

Coal. for Workforce Innovation v. Walsh, No. 1:21-CV-130,
  2022 U.S. Dist. LEXIS 68401 (E.D. Tex. Mar. 14, 2022) .......................................... 7

DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891 (2020) .................... 16, 19, 21, 23

Encino Motorcars, LLC v. Navarro, 579 U.S. 211 (2016) ........................................... 17

Env’t Integrity Project v. EPA, 425 F.3d 992 (D.C. Cir. 2005) ................................... 16

Fed. Commc’ns Comm’n v. Fox Television Stations, Inc., 556 U.S. 502 (2009) ......... 17

Fed. Commc’ns Comm’n v. Prometheus Radio Project, U.S.,
  141 S. Ct. 1150 (2021). ............................................................................................. 18

Gregory v. Miller, Civil Action No. 04-3017, 2007 U.S. Dist. LEXIS 19974
  (E.D. La. Mar. 21, 2007)........................................................................................... 15

Janvey v. Alguire, 647 F.3d 585 (5th Cir. 2011) ......................................................... 15

Michigan v. EPA, 576 U.S. 743 (2015) ............................................................ 17, 21, 23

Mock v. Garland, 75 F.4th 563 (5th Cir. 2023)........................................................... 15

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
 463 U.S. 29 (1983) .................................................................................................... 16

Nat’l. Cable & Telecomms. Ass’n. v. Brand X Internet Servs.,
 545 U.S. 967 (2005) .................................................................................................. 17

Nken v. Holder, 556 U.S. 418 (2009) ........................................................................... 15

NLRB v. Town & Country Elec., Inc., 516 U.S. 85 (1995) .......................................... 23


                                                            3
    Case 2:24-cv-00347-EEF-EJD                         Document 15-1               Filed 03/07/24             Page 4 of 25




R.J. Reynolds Vapor Co. v. FDA, 65 F.4th 182 (5th Cir. 2023).................................. 16

Sierra Club v. U.S. Envtl. Prot. Agency, 939 F.3d 649 (5th Cir. 2019) ................ 18, 20

Texas v. Biden, 10 F.4th 538 (5th Cir. 2021) .............................................................. 24

Texas v. Biden, 20 F.4th 928, 988 (5th Cir. 2021) ...................................................... 18

Texas v. EPA, 829 F.3d 405 (5th Cir. 2016) ................................................................ 24

United States v. Silk, 331 U.S. 704, 713 (1947) ............................................................ 6

Util. Air Regulatory Grp. v. EPA, 134 S. Ct. 2427 (2014) .......................................... 23

Wages & White Lion Invs. v. United States Food and Drug Admin.,
 16 F.4th 1130 (5th Cir. 2021)................................................................................... 24

Statutes

5 U.S.C. § 702 ............................................................................................................... 16

5 U.S.C. § 704 ............................................................................................................... 16

5 U.S.C. § 705 ............................................................................................................... 25

5 U.S.C. § 706 ............................................................................................................... 18

Rules

Fed. R. Civ. P. 65 ........................................................................................................... 5

LR 5.2 ............................................................................................................................. 5

Other Authorities

86 FR 1168 ......................................................................................................... 6, 20, 22

89 FR 1638 ........................................................................................................... passim




                                                                  4
  Case 2:24-cv-00347-EEF-EJD        Document 15-1      Filed 03/07/24   Page 5 of 25




                                 INTRODUCTION

   Plaintiffs submit this Memorandum of Law in support of their Motion for Pre-

liminary Injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure.

They seek to set aside the U.S. Department of Labor’s new independent contractor

classification rule—“Employee or Independent Contractor Classification Under the

Fair Labor Standards Act,” which takes effect on March 11, 2024.1 See 89 FR 1638.

   The Plaintiffs are four Louisiana-based businesses in the trucking industry and

one organization that advocates for them in Baton Rouge and Washington, D.C. on

laws and regulations that affect the industry. Plaintiffs rely on independent owner-

operator trucking labor as a core component of their businesses. The rule the Plain-

tiffs challenge rescinds a 2021 Rule that they have relied on for three years when

classifying their independent-contracting labor. But the 2024 Rule, unlike the law-

ful 2021 Rule, was promulgated in violation of the Administrative Procedure Act. As

a result of the 2024 Rule, Plaintiffs will incur substantial financial injury with no

guarantee of eventual recovery unless the Court sets it aside.

   First, the 2024 Rule is arbitrary and capricious. Defendants failed to consider al-

ternatives within the ambit of the existing 2021 Rule, like monitoring its effects,

claiming they are not “obligated to wait for more time to gather data before rescind-

ing” it. And they failed to consider employers’ reliance interests on the 2021 Rule.




1 Plaintiffs have also filed an Emergency Motion for Temporary Restraining Order

today to postpone the effective date of the 2024 Rule. See ECF No. 14.

                                           5
  Case 2:24-cv-00347-EEF-EJD        Document 15-1      Filed 03/07/24    Page 6 of 25




   Second, the 2024 Rule is in excess of the Defendants’ statutory authority under

the Fair Labor Standards Act.

                              STATEMENT OF FACTS

A. DOL’s 2021 Rule

   In January 2021, the U.S. Department of Labor and its Wage and Hour Division

(collectively the “DOL”) issued a classification rule establishing when a worker

qualifies as either an employee or independent contractor. See 86 FR 1168. The

2021 Rule reconciled decades of inconsistency and set forth a formal interpretation

of the traditional standards established in United States v. Silk, 331 U.S. 704

(1947), to provide clarity to employers when classifying employees and independent

contractors. See First Amended Complaint (“Am. Compl.”), ECF No. 9 at ¶ 30.

   Specifically, the 2021 Rule found, similarly to the Fifth Circuit Court of Appeals

in Castillo v. Givens, 704 F.2d 181 (5th Cir. 1983), that in practice two factors in

particular predominate in determining whether a person should be considered an

employee or an independent contractor: (1) the nature and degree of the worker’s

control over work; and (2) the worker’s opportunity for profit or loss. ECF No. 9 at ¶

31. And under the 2021 Rule, if these two key factors give a clear answer, that is

the end of the analysis. Id. at ¶ 32. And if the two key two factors point in disparate

directions, then there are three additional factors for a court to consider: (3) the

amount of skill required for the work; (4) the degree of permanence of the working

relationship; and (5) whether the work is part of an integrated unit of production.

Id. at ¶ 33.




                                            6
  Case 2:24-cv-00347-EEF-EJD        Document 15-1      Filed 03/07/24    Page 7 of 25




   A district court held that the 2021 Rule “became effective as of March 8, 2021,

the rule's original effective date, and remains in effect.” See Coal. for Workforce In-

novation v. Walsh, No. 1:21-CV-130, 2022 U.S. Dist. LEXIS 68401, *49 (E.D. Tex.

Mar. 14, 2022).

B. DOL’s 2024 Rule

   On January 10, 2024, the DOL issued and published in the Federal Register a

new final rule, effective March 11, 2024, which rescinds the 2021 Rule and provides

yet another interpretation of the distinction between employees and independent

contractors under the Fair Labor Standards Act (“FLSA”). See 89 FR 1638-39.

   The 2024 Rule provides a “totality of the circumstances” analysis, invoking six

nonexclusive factors that a court could look to when determining employee status:

(1) workers’ opportunity for profit or loss depending on managerial skill; (2) invest-

ments made by worker and employer; (3) degree of permanence of the work relation-

ship; (4) nature and degree of businesses’ control over the worker; (5) the extent to

which work performed is an integral part of the potential employer’s business; and

(6) whether the worker uses specialized skills in performing the work. Id. at 1640.

   In promulgating the 2024 Rule, the DOL stated that it is not “obligated to wait

for more time to gather data before rescinding the 2021 IC Rule and promulgating a

new rule.” Id. at 1660. The DOL further acknowledged that it is “mindful of the im-

pact that changes in the Department’s guidance may end up having on the regu-

lated community” by rescinding and replacing the 2021 Rule. Id. But then it said

that stakeholder reliance interest on the 2021 Rule is “unpersuasive.” Id.




                                           7
  Case 2:24-cv-00347-EEF-EJD        Document 15-1      Filed 03/07/24      Page 8 of 25




C. Plaintiffs and Their Injuries

                           Frisard’s Transportation, L.L.C.

   Since 2014, Plaintiff Frisard’s Transportation, L.L.C. (“Frisard’s”) has been a

family-owned trucking company specializing in transporting finished goods to stock

the shelves of supermarkets and other retail stores, among other cargo, that relies

on independent contracting labor as a core necessity of its business. See Cully

Frisard Declaration (“Frisard Decl.”), ECF No. 14-1 at ¶ 3.

   Frisard’s is an employer subject to the FLSA, the 2021 Rule, and the 2024 Rule.

Id. at ¶ 4. Frisard’s has relied on the 2021 Rule since its effective date of March 8,

2021, when classifying its independent-contracting labor. Id. Frisard’s has gross

sales of more than $500,000 per year, frequently hauls goods across state lines, and

frequently employs independent contractors to drive trucks to fulfill Frisard’s cli-

ents’ needs. Id. at ¶ 5.

   Frisard’s transports cargo throughout the southern and eastern United States,

from Texas and Nebraska to Maryland and Florida, wherever its customers need

cargo delivered. Id. at ¶ 6. Frisard’s contracts with more than thirty owner-operated

independent drivers who own their own trucks, decide which loads to carry or not,

and who are paid a flat percentage of shipping fee for a given load, plus reimbursa-

ble expenses such as fuel which are passed on to the client. Id. at ¶ 7.

   Frisard’s utilizes only independent owner operators to make deliveries and em-

ploys no in-house drivers. Id. at ¶ 8. By contrast, a related but separate company,

Frisard’s Trucking Co., employes a staff of in-house drivers who drive company-

owned trucks, are typically paid on a salary or hourly wage basis, provided a

                                           8
  Case 2:24-cv-00347-EEF-EJD        Document 15-1     Filed 03/07/24    Page 9 of 25




benefits package, and are required to work set hours and carry loads as assigned.

Id. Frisard’s use of independent owner-operators is beneficial to both Frisard’s it-

self, which is able to operate more efficiently and reduce excess costs, and to

Frisard’s independent contractors, who assume more responsibility for their own

business operations but gain autonomy and the opportunity to derive greater profit

from their work. Id. at ¶ 9.

   Frisard’s will incur substantial financial injury with no guarantee of eventual re-

covery as a result of the 2024 Rule. Id. at ¶ 10. For example, the 2024 Rule threat-

ens to upend Frisard’s business operations, increasing costs, depriving truckers of

the opportunity to operate independently within their own business, and potentially

driving many of the independent contractors Frisard’s relies on out of business, or

into different lines of business other than Frisard’s business, depriving it of needed

manpower to deliver cargo wherever its clients need it delivered. Id. at ¶ 11.

                Louisiana Motor Transport Association, Incorporated

   Plaintiff Louisiana Motor Transport Association, Incorporated (“LMTA”) is a

non-profit corporation founded in 1939, and it represents 388 Louisiana trucking

and related industry companies. See Renee Amar Declaration (“Amar Decl.”), ECF

No. 14-2 at ¶ 3. LMTA’s mission is to protect and promote Louisiana’s trucking in-

dustry. Id. at ¶ 4. Its members include every type of motor carrier in Louisiana, in-

cluding related and exempt, intrastate and interstate, and for-hire and private. Id.

LMTA champions the trucking industry and advocates for its members on laws and

regulations in Baton Rouge, La., and in Washington, D.C. Id. at ¶ 5.



                                           9
  Case 2:24-cv-00347-EEF-EJD         Document 15-1     Filed 03/07/24   Page 10 of 25




   LMTA’s members are subject to the FLSA, the 2021 Rule, and the 2024 Rule,

and they rely on independent contracting labor as a core necessity of their busi-

nesses. Id. at ¶ 6. Moreover, LMTA’s members have relied on the 2021 Rule since

its effective date of March 8, 2021, when classifying their independent-contracting

labor. Id. at ¶ 7. LMTA’s members’ use of independent owner-operators benefits

both employer members, who are able to operate more efficiently and reduce excess

costs, and to members’ independent contractors, who assume more responsibility for

their own business operations but gain autonomy and the opportunity to derive

greater profit from their work. Id. at ¶ 8.

   LMTA’s members will incur substantial financial injury with no guarantee of

eventual recovery as a result of the 2024 Rule. Id. at ¶ 9. For example, the 2024

Rule threatens to upend LMTA’s employer members’ business operations, increase

costs, and deprive independent owner-operator truckers of the opportunity to work

independently within their own business. Id. at ¶ 10. Moreover, the 2024 Rule could

potentially drive many of the independent contractors LMTA’s employer members

rely on out of business, or into different lines of business other than LMTA’s mem-

bers’ businesses, depriving them of needed manpower to deliver cargo wherever

their clients need it delivered. Id. at ¶ 11.

                                   A & B Group, Inc.

   Plaintiff A & B Group, Inc. (“A&B”) is a trucking company in operation since

1995, specializing in delivering liquid and dry bulk long-haul services and




                                              10
  Case 2:24-cv-00347-EEF-EJD        Document 15-1     Filed 03/07/24    Page 11 of 25




transporting cargo to all 50 U.S. states and Canada. See Burton Baty Declaration

(“Baty Decl.”), ECF No. 14-3 at ¶ 3.

   A&B is an employer subject to the FLSA, the 2021 Rule, and the 2024 Rule, and

it relies on independent contracting labor as a core necessity of its business. Id. at

¶ 4. A&B has relied on the 2021 Rule since its effective date of March 8, 2021, when

classifying its independent contracting labor. Id. at ¶ 5. A&B has gross sales of

more than $500,000 per year, frequently hauls goods across state lines, and fre-

quently employs independent contractors to drive trucks to fulfill its customers’

needs. Id. at ¶ 6.

   A&B contracts with drivers who own their own trucks, decide which loads to

carry or not, and who are paid based on an agreed-upon schedule, plus reimbursable

expenses such as fuel. Id. at ¶ 7. A&B also employs in-house drivers who drive com-

pany-owned trucks, are typically paid on a salary or hourly wage basis, provided a

benefits package, and are required to work set hours and carry loads as assigned.

Id. at ¶ 8. A&B’s use of independent owner-operators is beneficial to both A&B it-

self, which is able to operate more efficiently and reduce excess costs, and to A&B’s

independent contractors, who assume more responsibility for their own business op-

erations but gain autonomy and the opportunity to derive greater profit from their

work. Id. at ¶ 9.

   A&B will incur substantial financial injury with no guarantee of eventual recov-

ery as a result of the 2024 Rule. Id. at ¶ 10. For example, the 2024 Rule threatens to

upend A&B’s business operations, increasing costs, depriving truckers of the



                                           11
  Case 2:24-cv-00347-EEF-EJD        Document 15-1     Filed 03/07/24   Page 12 of 25




opportunity to work independently within their own business, and potentially driv-

ing many of the contractors A&B relies on out of business, or into different lines of

business other than A&B’s business, depriving it of needed manpower to deliver

cargo wherever its clients need it delivered. Id. at ¶ 11.

                         Northlake Moving and Storage, Inc.

   Plaintiff Northlake Moving and Storage, Inc. (“Northlake”) is a trucking com-

pany that has operated for over 40 years, specializing in transportation and storage

of household goods, office furniture, and special products, and it transports cargo to

48 U.S states. See Larry Terrell Declaration (“Terrell Decl.”), ECF No. 14-4 at ¶ 3.

   Northlake is an employer subject to the FLSA, the 2021 Rule, and the 2024 Rule,

and it relies on independent contracting labor as a core necessity of its business. Id.

at ¶ 4. Northlake has relied on the 2021 Rule since its effective date of March 8,

2021, when classifying its independent contracting labor. Id. at ¶ 5. Northlake has

gross sales of more than $500,000 per year, frequently hauls goods across state

lines, and frequently employs independent contractors to drive trucks to fulfill its

customers’ needs. Id. at ¶ 6.

   Northlake contracts with drivers who own their own trucks, decide which loads

to carry or not, and who are paid based on an agreed-upon schedule, plus reimburs-

able expenses such as fuel. Id. at ¶ 7. Northlake also employs in-house drivers who

drive company-owned trucks, are typically paid on a salary or hourly wage basis,

provided a benefits package, and are required to work set hours and carry loads as

assigned. Id. at ¶ 8. Northlake’s use of independent owner-operators is beneficial to



                                           12
  Case 2:24-cv-00347-EEF-EJD        Document 15-1     Filed 03/07/24    Page 13 of 25




both Northlake itself, which is able to operate more efficiently and reduce excess

costs, and to Northlake’s independent contractors, who assume more responsibility

for their own business operations but gain autonomy and the opportunity to derive

greater profit from their work. Id. at ¶ 9.

   Northlake will incur substantial financial injury with no guarantee of eventual

recovery as a result of the 2024 Rule. Id. at ¶ 10. For example, the 2024 Rule

threatens to upend Northlake’s business operations, increasing costs, depriving

truckers of the opportunity to work independently within their own business, and

potentially driving many of the contractors Northlake relies on out of business, or

into different lines of business other than Northlake’s business, depriving it of

needed manpower to deliver cargo wherever its clients need it delivered. Id. at ¶ 11.

                                Triple G. Express, Inc.

   Triple G. Express, Inc. (“Triple G”) is a family-owned trucking company that has

operated since 1985 and is an intermodal carrier serving the Port of New Orleans

Markets. See Randy Guillot Declaration (“Guillot Decl.”), ECF No. 14-5 at ¶ 3.

   Triple G transports cargo throughout the Southeastern United States, including

Louisiana, Texas, Mississippi, and Alabama, wherever their clients and customers

need cargo delivered. Id. at ¶ 4. Triple G is an employer subject to the FLSA, the

2021 Rule, and the 2024 Rule, and it relies on independent contracting labor as a

core necessity of its business. Id. at ¶ 5. Triple G has relied on the 2021 Rule since

its effective date of March 8, 2021, when classifying its independent contracting la-

bor. Id. at ¶ 6. Triple G has gross sales of more than $500,000 per year, frequently



                                              13
  Case 2:24-cv-00347-EEF-EJD         Document 15-1      Filed 03/07/24   Page 14 of 25




hauls goods across state lines, and frequently employs independent contractors to

drive trucks to fulfill its customers’ needs. Id. at ¶ 7.

   Triple G contracts with 100 independent drivers who own their own trucks, de-

cide which loads to carry or not, and who are paid based on an agreed-upon sched-

ule, plus reimbursable expenses such as fuel. Id. at ¶ 8. Triple G utilizes only inde-

pendent owner-operators to make deliveries and employs no in-house drivers. Id. at

¶ 9. Triple G’s use of independent owner-operators is beneficial to both Triple G’s it-

self, which is able to operate more efficiently and reduce excess costs, and to Triple

G’s independent contractors, who assume more responsibility for their own business

operations but gain autonomy and the opportunity to derive greater profit from

their work. Id. at ¶ 10.

   Triple G will incur substantial financial injury with no guarantee of eventual re-

covery as a result of the 2024 Rule. Id. at ¶ 11. For example, the 2024 Rule threat-

ens to upend Triple G’s business operations, increasing costs, depriving truckers of

the opportunity to work independently within their own business, and potentially

driving many of the contractors Triple G relies on out of business, or into different

lines of business other than Triple G’s business, depriving it of needed manpower to

deliver cargo wherever its clients need it delivered. Id. at ¶ 12.

                                 LEGAL STANDARD

   Rule 65 of the Federal Rules of Civil Procedure governs a court’s issuance of in-

junctive relief, including a temporary restraining order and preliminary injunction.

The legal standard for issuance of a temporary restraining order and for a



                                            14
  Case 2:24-cv-00347-EEF-EJD        Document 15-1      Filed 03/07/24    Page 15 of 25




preliminary injunction are the same. See Gregory v. Miller, Civil Action No. 04-

3017, 2007 U.S. Dist. LEXIS 19974, *2 (E.D. La. Mar. 21, 2007) (Engelhardt, J.).

Rule 65 is designed to protect the status quo of the parties pending trial. See Janvey

v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011) (holding that “where a district court

has determined that a meaningful decision on the merits would be impossible with-

out an injunction, the district court may maintain the status quo and issue a pre-

liminary injunction”).

   To obtain a preliminary injunction, the moving party must satisfy four factors:

(1) a substantial likelihood of success on the merits, (2) a substantial threat of irrep-

arable injury if the injunction is not issued, (3) that the threatened injury if the in-

junction is denied outweighs any harm that will result if the injunction is granted,

and (4) that the grant of an injunction will not disserve the public interest. Byrum

v. Landreth, 566 F.3d 442, 445 (5th Cir. 2009). “The government’s and the public’s

interests merge when the government is a party.” Mock v. Garland, 75 F.4th 563,

577 (5th Cir. 2023) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)).

                                     ARGUMENT

I. This Court should issue a Preliminary Injunction and set aside the 2024
   Rule.

   This Court should grant Plaintiffs’ Motion and issue a Preliminary Injunction

and set aside the 2024 Rule.

   A Preliminary Injunction is warranted here because Plaintiffs are likely to suc-

ceed on the merits of their Administrative Procedure Act claims; they will suffer ir-

reparable harm by incurring substantial financial injury with no guarantee of



                                           15
  Case 2:24-cv-00347-EEF-EJD       Document 15-1      Filed 03/07/24    Page 16 of 25




eventual recovery as a result of the 2024 Rule; and the balance of equities favors is-

suing a Preliminary Injunction.

      A. Plaintiffs are likely to succeed on the merits of their claims be-
         cause DOL promulgated the 2024 Rule in violation of the Adminis-
         trative Procedure Act.

   Under the first factor, Plaintiffs are likely to succeed on the merits of their

claims because DOL promulgated the 2024 Rule in violation of the Administrative

Procedure Act.

   In accordance with the Administrative Procedure Act (“APA”), a person wronged

by federal agency action “is entitled to judicial review thereof.” 5 U.S.C. § 702. The

APA further allows judicial review for “final agency action for which there is no

other adequate remedy in a court.” 5 U.S.C. § 704. When faced with an APA claim,

an “agency must defend its actions based on the reasons it gave when it acted,” and

may not engage in post hoc rationalizations. DHS v. Regents of the Univ. of Cal.,

140 S. Ct. 1891 (2020).

   Specifically, where, as here, “an agency rescinds a prior policy[,] its reasoned

analysis must consider the alternatives that are within the ambit of the existing

policy.” Id. at 1913 (citing Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut.

Auto. Ins. Co., 463 U.S. 29 (1983)). When changing course, an agency must account

for “serious reliance interests” its “longstanding policies may have engendered.” Re-

gents, 140 S. Ct. at 1913. Indeed, such a policy change is colloquially known as the

“surprise switcheroo” doctrine. R.J. Reynolds Vapor Co. v. FDA, 65 F.4th 182, 189,

n. 6 (5th Cir. 2023) (citing Azar v. Allina Health Servs., 139 S. Ct. 1804, 1810 (2019);

Env’t Integrity Project v. EPA, 425 F.3d 992, 996 (D.C. Cir. 2005)). And failure to

                                           16
  Case 2:24-cv-00347-EEF-EJD       Document 15-1      Filed 03/07/24   Page 17 of 25




consider “relevant factors” will render “an agency’s decreed result” unlawful. Michi-

gan v. EPA, 576 U.S. 743, 750 (2015). These requirements ensure that an agency

has engaged in “reasoned decisionmaking.” Id.

   To be sure, agencies are “free to change their existing policies,” as long as “they

provide a reasoned explanation for the change.” Encino Motorcars, LLC v. Navarro,

579 U.S. 211, 221 (2016) (citing Nat’l. Cable & Telecomms. Ass’n. v. Brand X Inter-

net Servs., 545 U.S. 967, 981-82 (2005)); see Chevron, U.S.A., Inc. v. Nat. Res. Def.

Council, Inc., 467 U.S. 837 (1984). But the agency must “show that there are good

reasons for the new policy.” Encino Motorcars, LLC, 579 U.S. at 222 (citing Fed.

Commc’ns Comm’n v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)).

   Here, it is undisputed that the DOL’s new 2024 Rule constitutes final agency ac-

tion. See generally 89 FR 1638. It is further undisputed that the 2024 Rule rescinds

and replaces the 2021 Rule. Id. at 1639. Moreover, it is undisputed that the 2021

Rule has been in effect for three years and remains in effect until March 11, 2024,

absent a TRO from this Court. Indeed, a district court within the Fifth Circuit pre-

viously rejected DOL’s first attempt to rescind the 2021 Rule and held that it “be-

came effective as of March 8, 2021, the rule's original effective date, and remains in

effect.” See Coal. for Workforce Innovation, 2022 U.S. Dist. LEXIS at *49.

   And like the DOL’s first botched attempt to rescind the 2021 Rule, its latest mis-

guided scheme to rescind it by promulgating the 2024 Rule must also fail. As fur-

ther discussed below, the Defendants violated the APA in promulgating the 2024

Rule, and it is arbitrary and capricious and in excess of DOL’s statutory authority.



                                          17
  Case 2:24-cv-00347-EEF-EJD         Document 15-1     Filed 03/07/24   Page 18 of 25




          1. The 2024 Rule is arbitrary and capricious.

   As alleged in Count I of Plaintiffs’ First Amended Complaint, DOL’s 2024 Rule is

arbitrary and capricious and violates the APA. See Am. Compl., ECF No. 9.

   The APA forbids an agency from acting in an arbitrary and capricious manner in

promulgating rules. See 5 U.S.C. § 706(2)(A). If an agency action is arbitrary and ca-

pricious, the court must hold that action to be unlawful and set it aside. Texas v.

Biden, 20 F.4th 928 (5th Cir. 2021) (quoting 5 U.S.C. § 706(2)(A)). “The APA’s arbi-

trary-and-capricious standard requires that agency action be reasonable and rea-

sonably explained.” Fed. Commc’ns Comm’n v. Prometheus Radio Project, U.S., 141

S. Ct. 1150 (2021).

   Agency action is arbitrary and capricious if:

               the agency has relied on factors which Congress has not
               intended it to consider, entirely failed to consider an im-
               portant aspect of the problem, offered an explanation for
               its decision that runs counter to the evidence before the
               agency, or is so implausible that it could not be ascribed
               to a difference in view or the product of agency expertise.

Motor Vehicle Mfrs. Ass’n of the U.S., Inc., 463 U.S. at 43 (cleaned up). A court must

“ensure that the agency ‘examined the relevant data and articulated a satisfactory

explanation for its action.’” Sierra Club v. U.S. Envtl. Prot. Agency, 939 F.3d 649,

664 (5th Cir. 2019) (quoting 10 Ring Precision, Inc. v. Jones, 722 F.3d 711, 723 (5th

Cir. 2013)).

   It is fatal to an agency’s new policy when it fails to contemplate alternatives

within the ambit of the existing policy because an agency thus fails to “consider im-

portant aspects of the problem before [it],” and this “omission alone causes agency



                                            18
  Case 2:24-cv-00347-EEF-EJD       Document 15-1     Filed 03/07/24    Page 19 of 25




action to be arbitrary and capricious.” Motor Vehicle Mfrs. Ass'n of U.S., Inc., 463

U.S. at 43. Moreover, while considering alternatives, an agency is further required

to assess whether there were reliance interests, determine whether they were sig-

nificant, and weigh any such interests against competing policy concerns.” Regents,

140 S. Ct. at 1915. DOL entirely failed to meet these standards.

   First, DOL failed to consider alternatives within the ambit of the existing 2021

Rule, such as monitoring its effects upon regulated stakeholders like Plaintiffs, from

the time it took effect three years ago. Second, DOL failed to adequately consider

employers’ reliance interests on the 2021 Rule—like Plaintiffs’ reliance on it since

March 8, 2021, when classifying their independent contracting labor.

             a. DOL failed to consider alternatives within the ambit of the
                existing 2021 Rule, like monitoring its effects, claiming it is
                not “obligated to wait for more time to gather data before re-
                scinding” it.

   In promulgating the 2024 Rule, DOL failed to consider alternatives within the

ambit of the existing 2021 Rule, like monitoring its effects, claiming in a haphazard

and dismissive fashion that it is not “obligated to wait for more time to gather data

before rescinding” it.

   Again, when “an agency rescinds a prior policy[,] its reasoned analysis must con-

sider the alternatives that are within the ambit of the existing policy.” Regents, 140

S. Ct. at 1913. But DOL stated in the 2024 Rule that it is not “obligated to wait for

more time to gather data before rescinding the 2021 IC Rule and promulgating a

new rule.” 89 FR at 1660. In other words, according to the DOL’s rudimentary and

unsophisticated analysis devoid of reasoning, it apparently does not have to review



                                          19
  Case 2:24-cv-00347-EEF-EJD       Document 15-1      Filed 03/07/24   Page 20 of 25




any data when it promulgates a new rule such as the 2024 Rule and rescinds an old

rule like the 2021 Rule. And the 2021 Rule has been in effect for three years so it is

not like DOL had to “wait” to gather such data. The data is available. Instead, the

DOL believes it can simply take a sledgehammer to the 2021 Rule and start over

from scratch. Even though courts must “ensure that the agency ‘examined the rele-

vant data and articulated a satisfactory explanation for its action.’” Sierra Club, 939

F.3d at 664 (emphasis added).

   Why would any reasonable federal agency not review data from the effects of a

rule—like the 2021 Rule—that had been in effect for three years? It is inexplicable.

And no reasonable agency would make such a glaring omission when rescinding a

rule as important and significant as one establishing how businesses must classify

workers. DOL promulgated the 2021 Rule “to promote certainty for stakeholders,

reduce litigation, and encourage innovation in the economy.” 86 FR at 1168. Con-

sider the data DOL could have reasonably monitored with minimal effort to deter-

mine if the 2021 Rule achieved its purpose: questionnaires sent to stakeholders to

conduct a survey on whether the 2021 Rule promoted certainty as it claimed; an

analysis of court filings and relevant litigation both before and after promulgation

of the 2021 Rule to determine if it reduced litigation; and an assessment on the

number of workers being classified as employees versus independent contractors

and the relevant impact on the economy and innovation.

   But DOL—without gathering and reviewing any relevant data—decided to re-

verse course and eliminate certainty for stakeholders like the Plaintiffs, and said,



                                          20
  Case 2:24-cv-00347-EEF-EJD        Document 15-1      Filed 03/07/24   Page 21 of 25




the “[2024 Rule] (and particularly rescission of the 2021 IC Rule) is needed in part

because of the concern that the 2021 IC Rule’s new analysis and concepts did not

provide the intended clarity.” 89 FR at 1654. But how plausible is the “concern”

when an agency buries its head in the sand and refuses to examine relevant data?

   Instead, the 2024 Rule actually reveals DOL’s failure to review data on the ef-

fects of the 2021 Rule before rescinding it, which means the DOL failed to “consider

important aspects of the problem before [it],” and this “omission alone causes

agency action to be arbitrary and capricious.” See Motor Vehicle Mfrs. Ass'n of U.S.,

Inc., 463 U.S. at 43. Moreover, DOL’s explanation for its decision that it was not ob-

ligated to monitor data on the effects of the 2021 Rule before rescinding it “is so im-

plausible that it could not be ascribed to a difference in view or the product of

agency expertise.” See id. Additionally, its failure to consider “relevant factors” like

data on the 2021 Rule before rescinding it renders the 2024 Rule unlawful because

DOL did not engage in “reasoned decisionmaking.” See Michigan, 576 U.S. at 750.

    And while DOL claimed to have “considered four alternatives to what it pro-

posed” (89 FR at 1660), a closer look reveals that it did not consider an alternative

“within the existing ambit” of the 2021 Rule. See Regents, 140 S. Ct. at 1913. The

DOL noted that it had previously considered and rejected two of those alterna-

tives—issuing guidance adopting either the common law test or the ABC test2 for




2 The ABC test is weighted in favor of classifying a worker as an employee, not an

independent contractor. Under the ABC test, a worker is considered an employee
and not an independent contractor, unless the hiring entity satisfies three condi-
tions. See https://www.labor.ca.gov/employmentstatus/abctest/.

                                           21
  Case 2:24-cv-00347-EEF-EJD       Document 15-1      Filed 03/07/24   Page 22 of 25




determining FLSA employee or independent contractor status—in the 2021 IC Rule.

89 FR at 1660. But those are not alternatives within the existing ambit of the 2021

Rule because the common law test and ABC test were not part of the 2021 Rule. See

86 FR 1168. Instead, the 2021 Rule adopted the Fifth Circuit’s Castillo opinion, un-

der which two factors in particular predominate: (1) the nature and degree of the

worker’s control over work; and (2) the worker’s opportunity for profit or loss. See

generally Castillo, 704 F.2d 181. Thus, the first two “alternatives” that DOL claimed

it considered were not within the existing ambit of the 2021 Rule itself.

   DOL’s third “alternative” was “to only partially rescind the 2021 IC Rule.” 89 FR

at 1661. This is also not an alternative within the existing ambit of the 2021 Rule,

given that DOL conceded it did not actually monitor any data on the effects of the

2021 Rule. And DOL’s fourth proposed “alternative”—rescinding the 2021 Rule en-

tirely to provide “guidance”—is nonsensical and clearly not an alternative within

the existing ambit of the 2021 Rule. 89 FR at 1661.

             b. DOL failed to consider employers’ reliance interests on 2021
                Rule.

   DOL failed to consider employers’ reliance interests on 2021 Rule. And the Dec-

larations show that Plaintiffs have relied on the 2021 Rule since its effective date of

March 8, 2021, when classifying their independent contracting trucking labor.

   Although DOL acknowledged that it is “mindful of the impact that changes in

the Department’s guidance may end up having on the regulated community” by re-

scinding the 2021 Rule, it then summarily dismissed that impact and said that

stakeholder reliance interest on the 2021 Rule is “unpersuasive.” 89 FR at 1660.



                                          22
  Case 2:24-cv-00347-EEF-EJD       Document 15-1      Filed 03/07/24    Page 23 of 25




But an agency is required to assess whether there were reliance interests, deter-

mine whether they were significant, and weigh any such interests against compet-

ing policy concerns, which DOL failed to do. See Regents, 140 S. Ct. at 1915.

   Even assuming arguendo that DOL assessed employer reliance interests from

this statement above, the 2024 Rule reflects that it failed to determine whether em-

ployer reliance interests were significant. And it did not weigh employer reliance in-

terests against competing policy concerns in the 2024 Rule. This is not “reasoned

decisionmaking.” See Michigan, 576 U.S. at 750. And concluding employer reliance

interest on the 2021 Rule is ”unpersuasive” without reviewing any relevant data “is

so implausible that it could not be ascribed to a difference in view or the product of

agency expertise.” See Motor Vehicle Mfrs. Ass'n of U.S., Inc., 463 U.S. at 43.

          2. The 2024 Rule is in excess of DOL’s statutory authority.

   As alleged in Count II of Plaintiff’s First Amended Complaint, DOL’s 2024 Rule

is in excess of its statutory authority. See Am. Compl., ECF No. 9.

   Any regulation that is promulgated must withstand APA review to ensure it is

not arbitrary, capricious, contrary to law, or in excess of statutory authority. See 5

U.S.C. § 706(2)(A). The Supreme Court has warned that, when an agency signifi-

cantly departs from precedent in excess of its authority when interpreting a particu-

lar statute, “its interpretation [is] unreasonable.” NLRB v. Town & Country Elec.,

Inc., 516 U.S. 85, 94 (1995). Moreover, since it has taken DOL over eighty years

since the FLSA’s enactment to “discover” its novel six-factor “totality of the circum-

stances” patchwork that is the 2024 Rule, further highlights the Rule’s unreasona-

bleness. See Util. Air Regulatory Grp. v. EPA, 134 S. Ct. 2427, 2444 (2014).

                                           23
  Case 2:24-cv-00347-EEF-EJD       Document 15-1     Filed 03/07/24    Page 24 of 25




      B. Plaintiffs would be irreparably harmed absent a Preliminary In-
         junction.

   Under the second factor, Plaintiffs would be irreparably harmed absent a Pre-

liminary Injunction. They will incur substantial financial injury with no guarantee

of eventual recovery, and Defendants’ sovereign immunity bars recovering costs.

   “[S]ubstantial financial injury” may be “sufficient to show irreparable injury,” es-

pecially when there is “no guarantee of eventual recovery.” Texas v. EPA, 829 F.3d

405, 433 (5th Cir. 2016); Alabama Ass’n of Realtors v. HHS, 141 S. Ct. 2485, 2489,

210 L. Ed. 2d 856 (2021). Further, “complying with a regulation later held invalid

almost always produces irreparable harm of nonrecoverable compliance costs.”

Texas v. EPA, 829 F.3d at 433. Moreover, Defendants’ sovereign immunity bars

Plaintiffs’ ability to recover costs. See Wages & White Lion Invs. v. United States

Food and Drug Admin., 16 F.4th 1130, 1142 (5th Cir. 2021).

      C. The balance of equities favors issuing a Preliminary Injunction.

   Under the merged third and fourth factors because the government is the de-

fendant, the balance of equities favors issuing a Preliminary Injunction since DOL

violated the APA when it promulgated the 2024 Rule.

   It is of the highest public importance that federal agencies follow the law. See

Texas v. Biden, 10 F.4th 538, 559 (5th Cir. 2021) (per curiam). “[O]ur system does

not permit agencies to act unlawfully even in pursuit of desirable ends.” Alabama

Ass'n of Realtors, 141 S. Ct. at 2490.




                                          24
  Case 2:24-cv-00347-EEF-EJD       Document 15-1      Filed 03/07/24   Page 25 of 25




II. The Court may also grant similar equitable relief pursuant to
   5 U.S.C. § 706(2)(A).

   This Court may also set aside the 2024 Rule based on its inherent equitable pow-

ers pursuant to 5 U.S.C. § 706(2)(A), which states a court may “set aside agency ac-

tion, findings, and conclusions found to be arbitrary, capricious, an abuse of discre-

tion, or otherwise not in accordance with law.”

                                   CONCLUSION

   Plaintiffs respectfully request that the Court issue a Preliminary Injunction and

SET ASIDE the 2024 Rule.


Dated: March 7, 2024                    Respectfully submitted,

                                         /s/ James Baehr
                                        James Baehr (LSBA 35431)
                                        Sarah Harbison (LSBA 31948)
                                        PELICAN CENTER FOR JUSTICE
                                        PELICAN INSTITUTE FOR PUBLIC POLICY
                                        400 Poydras Street, Suite 900
                                        New Orleans, LA 70130
                                        Telephone: (504) 475-8407
                                        james@pelicaninstitute.org
                                        sarah@pelicaninstitute.org

                                        M.E. Buck Dougherty III* TN BPR #022474
                                        Trial Attorney designation LR 11.2
                                        Reilly Stephens*
                                        LIBERTY JUSTICE CENTER
                                        440 N. Wells Street, Suite 200
                                        Chicago, Illinois 60654
                                        Telephone: (312) 637-2280
                                        bdougherty@libertyjusticecenter.org
                                        rstephens@libertyjusticecenter.org
                                        * Pro hac vice admission to be sought by
                                          visiting attorneys pursuant to LR 83.2.5

                                            Attorneys for Plaintiffs



                                          25
